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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
               V.                            )       CASE NO.: 1:21-MJ-430-GMH
                                             )
BRIAN GLENN BINGHAM                          )


                     CORRECTED UNOPPOSED MOTION TO MODIFY
                        CONDITIONS OF PRETRIAL RELEASE


       BRIAN BINGHAM, through undersigned Counsel, Sandi Y. Irwin, submits this motion

to modify conditions of his pretrial release to eliminate the condition that he submit to location

monitoring. In support, Mr. Bingham would show the following:

       1.      The government, through Assistant United States Attorney Christopher Amore,

does not oppose this motion.

       2.      On June 30, 2021, the Court ordered Mr. Bingham released pending trial and further

ordered that he report for courtesy pretrial supervision to the Middle District of Alabama. ECF

Nos. 7, 10. The Court ordered several conditions of pretrial release, including that Mr. Bingham

submit to location monitoring. Id. at Condition 7(q).

       3.      At his detention hearing, the Court and the government contemplated that Mr.

Bingham could seek to amend the conditions of his pretrial release to remove the condition

requiring location monitoring if he were compliant with all conditions of his pretrial release for

one to two months.

       4.      As of this filing, Mr. Bingham has been on pretrial supervision for one month and

seven days. According to his supervising officer with United States Probation and Pretrial

Services, Mr. Bingham has been fully compliant with all conditions of his pretrial release.


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       5.      The statute governing pretrial release explicitly states that a judicial officer who

determines conditions are necessary to assure appearance in court or the safety of the community

for a particular defendant, “shall order the pretrial release of the person . . . subject to the least

restrictive further condition, or combination of conditions . . . .” 18 U.S.C. § 3142(c)(1)(B)

(emphasis added).

       6.      Mr. Bingham has demonstrated that he will comply with the conditions of his

pretrial release and that location monitoring is more restrictive than necessary to ensure his

appearance or the safety of the community. Mr. Bingham, therefore, respectfully requests that the

condition that he submit to location monitoring be removed.

       7.      All other conditions of pretrial release would remain unchanged.

       WHEREFORE Mr. Bingham prays the Court grant this motion and modify the conditions

of pretrial supervision to eliminate the condition that he be subject to location monitoring.

       Dated this 6th day of August 2021.

                                               Respectfully submitted,

                                               s/ Sandi Y. Irwin
                                               SANDI Y. IRWIN
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                                               Middle District of Alabama
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BRIAN GLENN BINGHAM                             )


                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 6, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                Respectfully submitted,

                                                s/ Sandi Y. Irwin
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                                                Middle District of Alabama
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